Case 13-30466-bjh13 Doc 131 Filed 01/05/15         Entered 01/05/15 09:18:23    Page 1 of 2



                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

IN RE:                                    §
                                          §
ERVIN FRANK LAYER,                        §       CASE NO. 13-30466
                                          §          (Chapter 13)
DEBTOR                                    §

            NOTICE OF STIPULATED DISMISSAL WITHOUT PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), made applicable to this

contested matter by Federal Rule of Bankruptcy Procedure 9014(c), JPMorgan Chase Bank,

N.A., Ervin Frank Layer, and Bayview Loan Servicing, LLC hereby stipulate to the dismissal

without prejudice of the Motion of JPMorgan Chase Bank, National Association, Its Successors

and Assigns for Relief from Automatic Stay and Co-Debtor Stay as to 9814 Faircrest Drive,

Dallas, TX 75238 (Docket No. 93).

                                          Respectfully submitted,

                                          QUILLING, SELANDER, LOWNDS, WINSLETT
                                          & MOSER, P.C.
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                                          By:      /s/ Hudson M. Jobe
                                                Wm. Lance Lewis
                                                State Bar No. 12314560
                                                Hudson M. Jobe
                                                State Bar No. 24041189

                                          ATTORNEYS FOR JPMORGAN CHASE
                                          BANK, N.A.




                                                                                       Page 1
Case 13-30466-bjh13 Doc 131 Filed 01/05/15           Entered 01/05/15 09:18:23       Page 2 of 2



                                             ARMSTRONG KELLETT BARTHOLOW PLLC

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                                             DEBTOR’S SPECIAL COUNSEL


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                                             COUNSEL FOR BAYVIEW LOAN
                                             SERVICING, LLC


                                CERTIFICATE OF SERVICE

        I hereby certify that on January 5, 2015, a true and correct copy of the foregoing
instrument was served by electronic transmission via the Court’s CM/ECF system upon all
parties registered to receive electronic notice in this bankruptcy case, and by regular U.S. first
class mail, postage prepaid, on the parties listed on the attached mailing matrix.

                                                      /s/ Hudson M. Jobe

4843-1918-7489, v. 1




                                                                                             Page 2
